
By the Court.
That the State Board of Accountancy is a board of the state there can be no doubt. It is expressly made so by Section 1370, General Code, which created such board in 1908. By Section 1371, *67General Code, the appointment of its members is delegated to the Governor of Ohio.
Relator contends that respondents are subject to the provisions of Section 24, General Code, reading as follows:
“On or before Monday of each week every state officer, state institution, department, board, commission, college, normal school or university receiving state aid shall pay to the treasurer of state all moneys, checks and drafts received for the state, or for the use of any such state officer, state institution, department, board, commission, college, normal school or university receiving state aid, during the preceding week, from taxes, assessments, licenses, premiums, fees, penalties, fines, costs, sales, rentals or otherwise, and file with the auditor of state a detailed, verified statement of such receipts. Where tuitions and fees are paid to the officer or officers of any college, normal school or university receiving state aid, said officer or officers shall retain a sufficient amount of said tuition fund and fees to enable said officer or officers to make refunds of tuition and fees incident to conducting of said tuition fund and fees. At the end of each term of any college, normal school or university receiving state aid the officer or officers having in charge said tuition fund and fees shall make and file with the auditor of state an itemized statement of all tuitions and fees received and disposition of the same.”
Respondents maintain this section applies only to boards receiving state aid and that, as the State Board of Accountancy is not within that category, this statute cannot be invoked. We do not agree with such interpretation.
Section 24 was passed originally in 1904 and read in part as follows :
“Every state officer, employee, board, department, or commission, receiving money, checks, or drafts, for or on behalf of the state, from fees, rentals, penalties, *68costs, fines, sales of property, or otherwise, shall on or before Monday of each week, pay to the treasurer of state, all such money, checks or drafts received during the preceding week and on the same day, file a detailed, verified statement of such receipts with the auditor of state.”
Subsequently in 1914 the section was amended in its present form to include “college, normal school or university receiving state aid.” The phrase “receiving state aid” applies only to “college, normal school or university”, and does not refer back to the preceding enumerated agencies. This appeals to us as the only reasonable and sensible construction.
The fees received by the State Board of Accountancy under Section 1375, General Code, are of the character payable to the treasurer of the state of Ohio under Section 24.
Section 24 is a general statute and applies to every state board not otherwise expressly exempted. We find no express exemption in favor of respondents.
It is in accordance with sound public policy that funds coming into the possession of a state board through the performance of a state function should be payable to the state treasurer. Any other course would tend toward confusion, inefficiency and waste.
The demurrer to the petition is overruled, and, respondents not desiring to plead further, a writ of mandamus is allowed.

Writ allowed.

Weygandt, C. J., Stephenson, Jones, Matthias, Bevis, Zimmerman and Wilkin, JJ., concur.
